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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

LARRY COHEN,

     Plaintiff,
                                                   CASE NO: 6:19-cv-01088-CEM-LRH
v.

SYNCHRONY BANK,

  Defendant.
_____________________________/


                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


           COMES NOW the Plaintiff, LARRY COHEN, and the Defendant, SYNCHRONY

BANK, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), have hereby settled and stipulate

to dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the

Defendant in the above styled action, with Plaintiff and Defendant to bear their own

attorney’s fees, costs and expenses.

           Respectfully submitted this 17th day of August, 2020.


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